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                                                           January 8, 2021


                                                        1/11/2021
Hon. Paul A. Crotty                                     Bail is modified as requested.
United States District Court                            SO ORDERED.
500 Pearl Street
New York, NY 10038

               Re: USA v. Leyva (Haque), 19 Cr. 667


Dear Judge Crotty:

       I represent Ariful Haque.

       I write to memorialize the modifications to Mr. Haque’s bail conditions discussed during
yesterday’s status conference. I would ask the Court to endorse and So Order this letter.

       With the government’s consent, these are the agreed-upon changes:

       1.      The location monitoring (i.e. ankle bracelet) requirement will be removed; and

       2.      The bail sureties will execute a new unsecured personal recognizance bond in the
               amount of $250,000.

       As requested by the Court during yesterday’s conference, attached please find Mr. Haque’s
consent to proceed remotely for yesterday’s conference.

       Thank you for your consideration.


                                                           Respectfully submitted,




                                                           Peter E. Brill
